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                                 CHAMBERS OF KIMBA M. WOOD                  One Saint Andrew's Pla=a
                                       U.S.D.J.-S.D."l.Y.                   New York, New York I 0007      . ELECTRONICALLY FILED..
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                                                                            November 3, 2020                DATE FILED:       /J t z/'aO
                 By ECF and Electronic Mail

                 The Honorable Kimba M. Wood
                 United States District Judge
                                                                                                               MEMO ENDORSED
                 Southern District of New York
                 500 Pearl Street
                 New York, NY 10007

                          Re:      United States v. Jonathan Roper, 16 Cr. 542 (KMW)

                  Dear Judge Wood :

                         Defendant Jonathan Roper is scheduled to be sentenced on November 19, 2020. The
                  Government respectfully requests that the sentencing be adjourned until some date after the
                  defendants in U S. v. Freedman et al. , No 18 Cr. 217 (KMW), are sentenced , so that the Court
                  may consider any additional cooperation Roper provides in connection with those proceedings.

                          Roper, through counsel , consents to the requested adjournment.

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                                                                    Respectfully submitted,
-:r~n'-4..A"j,;)lc,~o;i,, o..t JJ:o•afVt..
                                                                    AUDREY STRAUSS
'D.ekN:lAl\1n S\-4..bM,~<. ,--0- -,~ d.~                            Acting United States Attorney

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~-..c. biVl~ ~s:NY\ iJ        d~ b     J                            Noah Solowiejczyk
                                                                    David Abramowicz
                                                                    Assistant United States Attorneys
  -:Tt::i.~U,Ctrlj 19, ~ / -                                        (212) 637-2473/6525


                  cc:     Joseph Ferrante, Esq. (by ECF and email)




                                                                             SO ORDERED:                   N.Y., N.Y. 11 (   s/;>o

                                                                        .             KIMBA M. WOO-.
                                                                                          U.S.D.J.
